Case 2:04-cv-02181-.]PI\/|-tmp Document 125 Filed 08/03/05 Page 1 of 4 Page|D 163

 

UNITED STATES DISTRICT COURT mfg §§y '§§§Q °`°'
FoR THE WESTERN DISTRICT oF TENNESSEE ,
wESTERN DIVISION AT MEMPHIS 05 AuG 3 PH 5‘ la
COMMODITY FUTURES TRADING § §W,@' §§ 'f § §§M§§§UH§
COMMISSION,
Plaintif[,
vs. Case No. 04-2181-D/An

FXTRADE FINANCIAL, LLC, ET AL.,
Defendants,
JOSEPH J. CECALA, JR.,

Reliel` Dei'endant.

 

ORDER

 

Before the Court is Plaintif? Commodity Futures Trading Commission's Motion to
Amend Deposition and Dispositive-Motion Deadlines and Memorandum in Support Thereof

(Docket Entry # _). Upon review of the motion and the memorandum included therewith, the

motion is GRANTED.

IT IS HEREBY ORDERED that the deadlines in the Rule 16(b) Scheduling Order be
amended as follows:

COMPLETING ALL DISCOVERY:

(c) DEPOSITIONS: September 30, 2005

FILING DISPOSITIVE MOTIONS: October ll, 2005

Th.’s document entered on the docket sheet' m co

wsm aura 53 and/or ram FHCP on 8 O pham§e

 

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IT IS SO ORDERED this G day of f [kavgf 2005.

CY.WM B~.J UJMJ”

'BERN-IGE-Be-BGN-i°rl=]é)
UNITED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 125 in
case 2:04-CV-02181 Was distributed by faX, mail, or direct printing on
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